     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8240 Page 1 of 67



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12
13                       IN THE UNITED STATES DISTRICT COURT
14                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
16    K.J.P., a minor, and K.P.P., a minor,
                                     )             No. 15cv2692-H(MDD)
      individually, by and through their mother,
                                     )
17    LOAN THI MINH NGUYEN, who also )             MEMORANDUM OF POINTS AND
      sues individually and as successor in
                                     )             AUTHORITIES IN SUPPORT OF
18    interest to her now deceased husband,
                                     )             DEFENDANTS’ MOTION IN LIMINE
      Lucky Phounsy, and KIMBERLY NANG
                                     )
19    CHANTHAPHANH, individually,    )             TO EXCLUDE ALL EVIDENCE OF,
                                     )             AND REFERENCE TO, CERTAIN
20               Plaintiffs,         )             IMPROPER OPINIONS OF
            v.                       )             PLAINTIFFS' EXPERT WITNESSES
21                                   )
      COUNTY OF SAN DIEGO; San Diego )             [DEFENDANTS’ MOTION 3 OF 5]
22    Sheriff WILLIAM GORE; RICHARD  )
      FISCHER; KEVIN RALPH; MARCOS )               Date: February 8, 2021
23    COLLINS; JANAE KRULL; SANDRA )               Time: 10:30 a.m.
      (JANET) CARBAJAL; BILLY        )
24    TENNISION, III; DEAN ALLEN;    )             Dep.t.: 15A - Courtroom of the
      MICHAEL LEE; JENNY MARTINSON; )              Honorable Judge Marilyn L. Huff
25    TAMANI PUGH; AARON BROOKE;     )
      JOVONNI SILVA; CITY OF SANTEE; )             Trial Date: February 23, 2021
26    AARON BAGLEY; AARON HACKETT; )
      AARON DO; ADAM DANIELS;        )
27    DANIEL NEOW; LAKESIDE FIRE     )
      PROTECTION DISTRICT; MARC      )
28    POYNTER; DAVID CSIK,           )
                                     )
                 Defendants.         )
                                     )
                                                                       15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8241 Page 2 of 67



1                                           I.          INTRODUCTION
2            Defendants seek to exclude at trial certain improper opinions of Plaintiffs' experts
3     which (1) concern subjects on which they are not qualified to testify, (2) are improper
4     conclusions of law, (3) are speculative because they are not fact-based, and (4) irrelevant
5     to the issues in this action.
6                                     II.        SUMMARY OF FACTS
7            In April 2015, Lucky Phounsy ("Phounsy") spent several days at a music festival,
8     where he ingested an unknown amount of drugs. When he returned, his family was unable
9     to get him settled down. At approximately 10 p.m. on April 13, 2015, he called 9-1-1 in a
10    delusional state, stating he believed people were trying to kill him. Two deputies arrived,
11    and attempted to take him into detention, but he violently resisted. Several additional
12    deputies arrived and finally secured him in maximum restraints. One of those deputies was
13    Defendant Fischer, who assisted other deputies by holding Phounsy's legs in place while
14    maximum restraints were applied, and who connected the waist restraint to the leg restraint
15    while other deputies pushed Phounsy's legs up. The deputies requested medical support,
16    and by 10:30 p.m. paramedics from Lakeside Fire Protection District and the City of Santee
17    arrived. Phounsy was placed on a gurney, and transferred to the paramedic’s
18    care. Defendant Fischer rode in the ambulance with Phounsy and two paramedics in order
19    to stabilize and control Phounsy, who continued to resist. As Phounsy continued to resist
20    and struggle with deputies and paramedics while restrained, the paramedics chose to keep
21    him in his restraints. The paramedics departed with Phounsy before 11:10 p.m. Phounsy
22    went into cardiac arrest as the ambulance approached Sharp Grossmont Hospital. Doctors
23    were able to regain a pulse, but Phounsy was later declared brain dead.
24                                               III.    ARGUMENT
25    A.     The Court Should Exclude Opinions Of Plaintiffs’ Experts To Which They
             Are Not Qualified To Testify
26
27           Fed. R. Evid. 702 states: "A witness who is qualified as an expert by knowledge,
28    skill, experience, training, or education may testify in the form of an opinion or otherwise
                                                          -1-
                                                                             15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8242 Page 3 of 67



1     if: (a) the expert’s scientific, technical, or other specialized knowledge will help the trier
2     of fact to understand the evidence or to determine a fact in issue; (b) the testimony is based
3     on sufficient facts or data, (c) the testimony is the product of reliable principles and
4     methods; and (d) the expert has reliably applied the principles and methods to the facts of
5     the case.”
6            1.     DeFoe
7            DeFoe's Opinion No. 25 refers to "the physiology of a struggle" (Exhibit A, DeFoe
8     depo., 79:8-25, 83:17-84:10) which DeFoe explains as "[a] vicious cycle of more
9     resistance, more force, and they're trying to breathe, the officers are taking that as resistance
10    to the force, when in reality the resistance is to they're trying to breathe and then more force
11    is applied, and it's that – very similar to what Mr. Meyer wrote in his report -- it's that effect
12    that ultimately can lead to positional asphyxiation." (Ex. A, DeFoe depo., 98:21-99:14.)
13    This is based on a scientific and medical theory that is beyond his expertise and should be
14    excluded. See: Rascon v. Brookins, 2018 U.S. Dist. LEXIS 20088, 2018 WL 739696, at
15    *3 (D. Ariz. 2018) (finding an expert witness was not qualified to opine about medical
16    causation, the physiological effects of a Taser, the progression of asphyxiation, the medical
17    effects of a carotid hold, and cause of death); Dirks v. Cty. of Los Angeles, 2008 U.S. Dist.
18    LEXIS 129460, 2008 WL 11355528, at *3 (C.D. Cal. 2008) (finding that an expert
19    witness’s report “purports to characterize facts that have nothing to do with his area of
20    expertise” and “many of its opinions are beyond the scope of his expertise”); LeBlanc v.
21    City of Los Angeles, 2006 U.S. Dist. LEXIS 96768, 2006 WL 4752614, at *9 (C.D. Cal.
22    2006) (finding an expert witness was not qualified to opine on the effect of a Taser on the
23    victim or otherwise make medical opinions).
24           2.     Dr. Thrush
25           Dr. Thrush opined that it was "unusual" that paramedics discussed the case with law
26    enforcement before writing their reports, and that an addendum prepared by paramedic
27    Hackett was "created much later than is usual or customary, and this should be taken into
28    consideration when interpreting them." (Exhibit B, Thrush deposition, 84:17-86:6, 266:21-
                                                    -2-
                                                                                  15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8243 Page 4 of 67



1     267:2, 269:13-20, 270:15-271:8.) This is beyond the scope of Dr. Thrush's expertise and
2     should be excluded. "A witness must be qualified in the specific subject for which his
3     testimony is offered.... [a] medical doctor is not presumed to have expert knowledge about
4     every conceivable scientific principle or disease." Whiting v. Boston Edison Co., 891 F.
5     Supp. 12, 24 (D. Mass. 1995). Dr. Thrush testified that no Court has qualified him to testify
6     as an expert witness in the area of paramedic practice and pre-hospital care (Ex. B, Thrush
7     depo., 36:21-37:5), he has never been a licensed paramedic (Ex. B, Thrush depo., 51:13-
8     15), he has never held a title of medical director for any fire agency paramedic program in
9     California (Ex. B, Thrush depo., 53:25-54:7), and he has never worked as a medical doctor
10    training paramedics in San Diego County. (Ex. B, Thrush depo., 59:5-7.) Further, since
11    1994, Dr. Thrush has not performed any quality assurance work for any paramedic
12    programs in San Diego County (Ex. B, Thrush depo., 59:12-16), nor performed any
13    protocol drafting, amending, or review for any paramedic programs in San Diego County.
14    (Ex. B, Thrush depo., 59:17-20.) Dr. Thrush has never independently drafted policies or
15    procedures for paramedics for pre-hospital care work. (Ex. B, Thrush depo., 58:12-16.)
16    B.    The Court Should Exclude The Opinions Of Plaintiffs’ Experts Which Are
            Improper Conclusions Of Law
17
18          Experts may not offer legal opinions. Legal opinions are unhelpful to the trier of
19    fact, not within an expert’s purview, and impermissibly invade the province of the judge.
20    See 29 Charles A. Wright et al., Federal Practice and Procedure (hereafter “Wright &
21    Miller”) § 6265.2 (2d ed., Apr. 2020 update). (stating that “courts often exclude expert
22    opinions that involve legal conclusions”); See also Frakes v. Masden, 2015 U.S. Dist.
23    LEXIS 159158, 2015 WL 7583051, at *4–5 (S.D. Tex. 2015) (excluding an expert
24    witness’s opinion that “no crime was in progress” when officer responded to a scene); Carr
25    v. Montgomery Cty., 2015 U.S. Dist. LEXIS 136560, 2015 WL 5838862, at *8–10 (S.D.
26    Tex. 2015) (excluding an expert witness’s opinions that officers had no “exigency or viable
27    purpose,” that a “reasonably trained” officer would have acted differently, and that a
28    supervisor “unreasonably failed to properly supervise his officers”).
                                                  -3-
                                                                              15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8244 Page 5 of 67



1           DeFoe's Opinion No. 24 that Defendants Corporal Collins and Deputy Krull did not
2     have sufficient "legal justification" for conducting a pat-down search (Ex. A, DeFoe depo.,
3     41:2-4) is an improper and inadmissible conclusion of law.
4     C.    The Court Should Exclude The Opinions Of Plaintiffs' Experts Which Are
            Not Fact-Based
5
6           Experts may not offer conclusory opinions, even in areas where they are highly
7     qualified. Rather, experts must show their work. This allows the court and jury to evaluate
8     the basis of the expert’s opinion and determine whether the opinion is truly helpful, fact-
9     based, and reliable. Otherwise an expert could offer his or her personal views as opinions,
10    and the jury would have no way of knowing whether the opinions are trustworthy or
11    representative of others in the field.
12          “The trial judge in all cases of proffered expert testimony must find that it is properly
13    grounded, well-reasoned, and not speculative before it can be admitted. The expert’s
14    testimony must be grounded in an accepted body of learning or experience in the expert’s
15    field, and the expert must explain how the conclusion is so grounded.” Fed. R. Evid. 702,
16    adv. comm. notes to 2000 amendments. “[N]othing in either Daubert or the Federal Rules
17    of Evidence requires a district court to admit opinion evidence that is connected to existing
18    data only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146
19    (1997). As the Ninth Circuit explained on remand from the Supreme Court: “We’ve been
20    presented with only the experts’ qualifications, their conclusions and their assurances of
21    reliability. Under Daubert, that’s not enough.” Daubert v. Merrell Dow Pharm., Inc., 43
22    F.3d 1311, 1319 (9th Cir. 1995).
23                 1.     DeFoe
24          DeFoe offers the opinion that "if someone's mentally ill and they can't understand or
25    can't process or someone under the influence who can't process or understand multiple
26    commands at one time, you can't expect them to follow those commands." (Ex. A, DeFoe
27    depo., 68:20-24). However, DeFoe testified that he does not know what conflicting
28    ///
                                                  -4-
                                                                               15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8245 Page 6 of 67



1     commands were given to Phounsy (Ex. A, DeFoe depo., 69:2-3) and is not aware of any
2     specific conflicting command. (Ex. A, DeFoe depo., 69:14-16.)
3           DeFoe offers the opinion that Defendant Fischer "did not check if the maximum
4     restraints were properly placed on Mr. Phounsy." (Ex. A, DeFoe depo., 75:14-16.) But
5     DeFoe testified that he does not know if the maximum restraints were improperly applied.
6     (Ex. A, DeFoe depo., 75:23-25.)
7           DeFoe offers the opinion that if Defendant Deputy Tennison's knee strikes to
8     Phounsy were simply out of frustration, then this use of force was excessive. (Ex. A, DeFoe
9     depo., 85:11-15; 86:3-8.) But DeFoe testified that he has no basis for an opinion that
10    Defendant Deputy Tennison's knee strikes were done out of frustration. (Ex. A, DeFoe
11    depo., 86:13-18.)
12          All of these opinions of DeFoe should be excluded as improper conclusory opinions
13    without evidentiary support.
14          2.    Dr. Sperry
15          Dr. Sperry offers the opinion that there was clearly cyanosis around Phounsy's lips,
16    which indicates hypoxia (Exhibit C, Sperry deposition, 28:6-12, 29:1-3.) However, Dr.
17    Sperry testified that his opinion is based on two photographs. (Ex. C, Sperry depo., 28:1-
18    7 and depo. ex. 6.) Dr. Sperry does not know who took these photographs. (Ex. C, Sperry
19    depo., 29:4-6.) Dr. Sperry is not positive when these photos were taken. (Ex. C, Sperry
20    depo., 29:7-12.) Dr. Sperry does not know what specific lighting conditions were there
21    when these photos were taken. (Ex. C, Sperry depo., 30:14-17.) Dr. Sperry does not know
22    what the f-stop was on the camera that took these photos. (Ex. C, Sperry depo., 30:18-20.)
23    Dr. Sperry does not know how the photos were reproduced for his viewing other than they
24    were digital capture. (Ex. C, Sperry depo., 30:21-31:1.) Dr. Sperry admitted that other
25    than these two photos, there is no other measured, objective evidence that Phounsy was
26    suffering from severe hypoxia at any time. (Ex. C, Sperry depo., 34:21-35:25.)
27          Dr. Sperry offers the opinion that while the spit sock did not directly compromise
28    Phounsy's breathing in a direct way, it interfered with the caregivers' ability to see
                                                 -5-
                                                                            15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8246 Page 7 of 67



1     Phounsy's face and head (Ex. C, Sperry depo., 36:8-22) and impaired their ability to
2     evaluate him. (Ex. C, Sperry depo., 36:23-37:7; 37:22-38:5.) However, Dr. Sperry
3     testified that he did not recall ever seeing the actual spit sock that was used in this case.
4     (Ex. C, Sperry depo., 38:6-9.) Further, the evidence in this case is that paramedics could
5     see through the spit sock (Exhibit D, Poynter deposition, 155:19-156:6), and that based on
6     the lightweight mesh material of the spit sock, it was not a hindrance to Phounsy's ability
7     to breathe. (Exhibit E, Hackett deposition, 186:5-16.)
8           These opinions of Dr. Sperry should be excluded as improper conclusory opinions
9     lacking evidentiary support.
10    D.    The Court Should Exclude The Opinions Of Plaintiffs' Experts Which Are
            Irrelevant
11
12          DeFoe's Opinion No. 16 (Ex. A, DeFoe depo., 82:23-83:16) only applied to
13    Defendant Sergeant Kevin Ralph, who is no longer a party to this action. This Court
14    previously granted summary judgment in favor of Sergeant Ralph on all of Plaintiffs'
15    claims. (Doc. No. 171:21-22.) The Court should exclude this opinion of DeFoe as
16    irrelevant.
17          DeFoe’s Opinion No. 23 pertains to the alleged failure of the San Diego Sheriff
18    Department to conduct a comprehensive debrief after the incident. (Ex. A, DeFoe depo.
19    96:25-98:19.) The Court should exclude this opinion of DeFoe as irrelevant under Fed. R.
20    Evid. 403, and also inadmissible as a subsequent remedial measure under Fed. R. Evid.
21    407. See Maddox v. City of Los Angeles, 792 F.2d 1408, 1417 (9th Cir. 1986) ("The
22    Internal Affairs investigation and measures taken by the defendant City were remedial
23    measures taken after the incident. Pursuant to Fed. R. Evid. § 403, evidence of these
24    proceedings was therefore properly excluded with respect to the City's liability.
25    [Citations]."]; Luera v. Snyder, 599 F.Supp. 1459 (D. Col. 1984).
26                                      IV.    CONCLUSION
27          Based on the foregoing, Defendants respectfully request that this Court make the
28    following orders:
                                                  -6-
                                                                              15cv2692-H(MDD)
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8247 Page 8 of 67



1            1.     That Plaintiffs' expert witnesses, Plaintiffs' attorneys, Plaintiffs, and Plaintiffs'
2     witnesses shall not, in the presence of the jury, testify, offer, or in any way refer to opinions
3     which (1) concern subjects on which they are not qualified to testify, (2) are improper
4     conclusions of law, (3) are speculative because they are not fact-based, and (4) irrelevant
5     to the issues in this action.
6                                               Respectfully submitted,
7     DATED: January 11, 2021                   THOMAS E. MONTGOMERY, County Counsel
8
                                                By: s/ RONALD LENERT, Senior Deputy
9                                               Attorneys for Defendants County of San Diego,
                                                San Diego County Sheriff’s Department, Dean
10                                              Allen, Aaron Brooke, Sandra Carbajal, Marcos
                                                Collins, Janae Krull, Michael Lee, Jenny
11                                              Martinson, Tamani Pugh, Jovonni Silva, and Billy
                                                Tennison
12
13    DATED: January 11, 2021                   MANNING & KASS
                                                ELLROD, RAMIREZ, TRESTER LLP
14
15                                              By: s/ MILDRED O’LINN
                                                Attorneys for Defendant Richard Fischer
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                                                                                  15cv2692-H(MDD)
Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8248 Page 9 of 67




              EXHIBIT “A”
Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8249 Page 10 of 67


                      UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
                        Case No. 15CV2692-H-MDD

   K.J.P., a minor, and K.P.P., a minor,    )
   individually, by and through their       )
   mother, LOAN THI MINH NGUYEN, who also   )
   sues individually and as successor in    )
   interest to her now deceased husband,    )
   Lucky Phounsy, and KIMBERLY NANG         )
   CHANTHAPHANH, individually,              )
                                            )
                  Plaintiffs,               )
   vs.                                      )
                                            )
   COUNTY OF SAN DIEGO; San Diego Sheriff   )
   WILLIAM GORE; RICHARD FISCHER; KEVIN     )
   RALPH; MARCOS COLLINS; JANAE KRULL;      )
   SANDRA (JANET) CARBAJAL; BILLY TENNISION,)
   III; DEAN ALLEN; MICHAEL LEE; JENNY      )
   MARTINSON; TAMANI PUGH; AARON BROOKE;    )
   JOVONNI SILVA; CITY OF SANTEE; AARON     )
   BAGLEY; AARON HACKETT; AARON DO; ADAM    )
   DANIELS; DANIEL NEOW; LAKESIDE FIRE      )
   PROTECTION DISTRICT; MARC POYNTER;       )
   DAVID CSIK,                              )
                                            )
                  Defendants.               )
   _________________________________________)

                      DEPOSITION OF SCOTT A. DeFOE
                               June 30, 2017


   Reported by:       Deborah M. DeSilva, CSR No. 7307, CRR
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8250 Page 11 of 67
Deposition of Scott A. DeFoe                               K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      BY MR. CHAPIN:
   2                Q.         "Corporal Collins and Deputy Krull did not have
   3      sufficient legal justification for conducting a 'Pat
   4      Down' search."              Why not?
   5                A.         Well, there's no nexus that that person was
   6      armed.
   7                Q.         So in conducting the investigation, they didn't
   8      have any right to check him for weapons?
   9                A.         Well, based on the law, the person has to be
 10       considered based on articulable facts that they're armed
 11       and dangerous, and you have to have a reasonable
 12       suspicion to detain before you do the search.                           And part
 13       of that is that there was criminal activity occurring.
 14       And based on my review of the facts of the matter
 15       initially, there wasn't any criminal activity.
 16                 Q.         So would it be fair to say that this was either
 17       an 11550 investigation or a 5150 investigation?
 18                 A.         Well --
 19                            MR. McBRIDE:   Objection.   Assumes facts.
 20       BY MR. CHAPIN:
 21                 Q.         You know what I'm talking about, what 11550
 22       means, right?
 23                 A.         I'm a former DRE, so I understand the term.
 24                            The issue with 11550 in this matter is that you
 25       have to form that based on your training and experience.

KRAMM COURT REPORTING                                                                            Page: 41
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8251 Page 12 of 67
Deposition of Scott A. DeFoe                                K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                           MR. McBRIDE:    Same objections.
   2                           THE WITNESS:    I believe the questions were
   3      occurring prior to the force option, initial force.
   4      BY MR. CHAPIN:
   5                Q.         So they were giving simultaneous multiple
   6      commands before anything happened?                  Is that your
   7      understanding?
   8                A.         And during.    I don't know if it was actually
   9      before, but it was during based on their testimony.
 10                 Q.         So they didn't have any right to yell at him
 11       while he was beating them up?
 12                            MR. McBRIDE:    Objection.   Argumentative.
 13                            THE WITNESS:    The problem with even during
 14       force giving different commands, multiple commands, if I
 15       tell you -- if I'm telling you to put your hands up and
 16       my partner's telling you to get on the ground, which one
 17       are you going to do?                So that's the point of it.
 18                            If I'm asking you to do certain things, is
 19       that -- if the commands conflict with one another or,
 20       once again, if someone's mentally ill and they can't
 21       understand or can't process or someone under the
 22       influence who can't process or understand multiple
 23       commands at one time, you can't expect them to follow
 24       those commands.              That's where the criticism comes in.
 25       ///

KRAMM COURT REPORTING                                                                             Page: 68
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8252 Page 13 of 67
Deposition of Scott A. DeFoe                              K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      BY MR. CHAPIN:
   2                Q.         What conflicting commands were they giving him?
   3                A.         I don't know.    I just agree with Corporal
   4      Collins when he stated on page 60 that giving multiple
   5      commands would be confusing to someone who was mentally
   6      ill.
   7                           And Deputy Krull said they were both asking him
   8      questions at the same time, and that they both admitted
   9      that they did not outline who was the cover and contact
 10       person.
 11                            So just based on their own testimony, it made
 12       me believe that they were asking questions
 13       simultaneously.
 14                 Q.         Do you have any specific conflicting commands
 15       that you're aware of?
 16                 A.         I do not.
 17                            MR. McBRIDE:    Do you want to give him the
 18       opportunity to review the material he has?
 19                            MR. CHAPIN:    He can do whatever he wants.                I'm
 20       not going to try to do what you did with the last
 21       witness.
 22                            MR. McBRIDE:    If you want the deposition
 23       transcripts, I've got them.
 24       BY MR. CHAPIN:
 25                 Q.         I am going to make it really easy for you.                   I

KRAMM COURT REPORTING                                                                           Page: 69
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8253 Page 14 of 67
Deposition of Scott A. DeFoe                              K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      Carbajal's testimony.
   2                           THE WITNESS:    It's in her deposition testimony.
   3      She was asked -- she admitted she did not put him on his
   4      side.
   5      BY MR. CHAPIN:
   6                Q.         Do you know if anybody put him on his side?
   7                A.         At what point?
   8                Q.         At any point.
   9                A.         In the -- someone put him on his side in the
 10       driveway after he was taken outside.
 11                 Q.         Right.   So No. 10, same thing, it looks like,
 12       with Deputy Fischer, correct?
 13                 A.         In addition, with Fischer he didn't check --
 14       according to his testimony on page 60, he did not check
 15       if the maximum restraints were properly placed on
 16       Mr. Phounsy.              And in addition, he did not see any other
 17       deputies check to see if Mr. Phounsy could breathe.
 18       That was on his deposition on page 60 as well.
 19                 Q.         Do you know if any other deputies were
 20       monitoring his breathing?
 21                 A.         Not according to a review of the facts in this
 22       matter.
 23                 Q.         Do you know if the maximum restraints were not
 24       properly applied?
 25                 A.         I don't know.

KRAMM COURT REPORTING                                                                           Page: 75
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8254 Page 15 of 67
Deposition of Scott A. DeFoe                             K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      the -- where the ambulance was and assisted cutting them
   2      off, which, you know, may have delayed the medical
   3      treatment.
   4                           But I can tell you from applying them, as well
   5      as observing people -- the use of restraints,
   6      especially -- specifically court cuffs -- is that they
   7      shouldn't be so tight that you have to cut them off.
   8                Q.         And No. 13 sounds like a repeat of No. 1.                 Am I
   9      correct about that?
 10                 A.         Yes.   It's because of the time it took.               It
 11       took 10 to 15 minutes to get the restraints on based on
 12       my review of the testimony.               So that's a very prolonged
 13       struggle.
 14                            There was no -- no one was coordinating, based
 15       on my review of the testimony.               No one was really having
 16       any discussions of what to do.               It was just kind of
 17       everyone was using force trying to get them on, and it
 18       took 10 to 15 minutes, which prolonged that struggle.
 19                            And during that physiology of the struggle,
 20       he's trying to push.               Obviously, with that comes weight,
 21       weight pushes on the back, the person tries to breathe,
 22       they try to create space to get air into the lungs,
 23       additional thrashing by that person because they're
 24       trying to breathe, more weight, and subsequently, you
 25       know, the end result is typically bad.

KRAMM COURT REPORTING                                                                          Page: 79
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8255 Page 16 of 67
Deposition of Scott A. DeFoe                              K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      and came back 10 minutes later, and Mr. Phounsy was
   2      still on his chest.
   3                Q.         And whose testimony was that?
   4                A.         I will find that.    Do you have my notes that
   5      you put in?
   6                Q.         These, I think.   You can go ahead and keep
   7      those for now.
   8                A.         I don't recall, but I will -- before the end of
   9      the depo, I will hand you that.
 10                 Q.         Okay.   All right.   And as you testified
 11       earlier, you're not aware of anybody checking his
 12       breathing based on your review of the materials; is that
 13       correct?
 14                 A.         That's correct.
 15                 Q.         So No. 15 is the same opinion with respect to
 16       Deputy Martinson, correct?
 17                 A.         Yes.
 18                 Q.         And that he was not immediately rolled onto his
 19       side.         Is that your complaint?
 20                 A.         Yeah.   According to their policy, as soon as
 21       possible, when a subject is maximally restrained, he
 22       will be rolled onto his side or in a seated position.
 23                 Q.         Okay.   And No. 16, with respect to Kevin
 24       Ralph -- let me ask you, first of all, after reviewing
 25       his deposition, is there anything you would add to

KRAMM COURT REPORTING                                                                           Page: 82
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8256 Page 17 of 67
Deposition of Scott A. DeFoe                            K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      Opinion 16 with respect to Sergeant Ralph?
   2                A.         I mentioned earlier, but I'll re-mention it
   3      again, that he never asked any deputy on scene to
   4      monitor Lucky's breathing, that was page 35; never made
   5      sure himself that Lucky was breathing and had a pulse,
   6      that was page 36.
   7                           I know he spent about 10 minutes on the phone
   8      making -- while at least two minutes of that time
   9      Mr. Phounsy was on his stomach -- calling, making
 10       notifications during that time; does not remember seeing
 11       Lucky actively resisting after Deputy Allen rolled him
 12       onto his recovery position; did not see Lucky -- did not
 13       check Lucky to see if he had any injuries; did not check
 14       the restraints to see if they were applied properly; and
 15       lastly, that he believed that Lucky's death was probably
 16       preventable.
 17                 Q.         And what opinion do you have about whether the
 18       restraints were applied properly or improperly?
 19                 A.         As I mentioned earlier, they were on tight
 20       enough that they needed to cut them off.                   They were on,
 21       I believe, at a point when they shouldn't have been;
 22       that's during the transport.              I think that was critical.
 23       They should have been removed.
 24                            I also believe that he should have -- with the
 25       restraints on, as basic policy, based on Mr. Meyer's

KRAMM COURT REPORTING                                                                         Page: 83
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8257 Page 18 of 67
Deposition of Scott A. DeFoe                             K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      report, based on their department policy, once they are
   2      placed on, there's certain procedures that you must do
   3      that they failed to do, and that being put him in a
   4      seated position or rolled onto his side, that that
   5      didn't happen for some period of time, especially after
   6      a prolonged struggle, 15 to 20 minutes, knowing that
   7      there's a likelihood that -- based on the physiology of
   8      the struggle, there's a strong likelihood he couldn't
   9      breathe and not knowing if there were any medical
 10       issues, medical conditions or whatnot.
 11                 Q.         But the only basis for your opinion that
 12       they -- the restraints were improperly applied is the
 13       fact that they were cut off in the ambulance; is that
 14       right?
 15                 A.         Well, not just that.   The fact -- based on the
 16       testimony that -- where the legs were.                   The legs were,
 17       you know, according to certain -- I mean, according
 18       to -- I mentioned earlier with Jovonni Silva that the
 19       legs were -- his legs were a few inches from his butt.
 20       So the fact of the positioning, they pressed his feet
 21       virtually all the way up to his butt, and they were tied
 22       in such a manner that, once again, puts more pressure
 23       onto the diaphragm area, more pressure onto your chest.
 24                            If you can envision lying on your stomach right
 25       now with your legs tied to the back of your -- your legs

KRAMM COURT REPORTING                                                                          Page: 84
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8258 Page 19 of 67
Deposition of Scott A. DeFoe                              K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      bound, your feet behind your back, and then force being
   2      put on there, with your legs pushed all the way up to
   3      your butt, and then people putting pressure on that
   4      area, a lot of pressure, maybe on the buttocks area,
   5      like in Silva's testimony, putting pressure on that area
   6      as well is obviously going to restrict someone's
   7      breathing, or could restrict someone's breathing.
   8                Q.         But you don't know if it did or not?
   9                A.         Well, I'm not providing medical opinion in this
 10       matter, right.
 11                 Q.         Okay.    And I'm looking at No. 17 now with
 12       respect to Deputy Tennison, and tell me about that
 13       opinion.
 14                 A.         As I mentioned, I thought it was
 15       counterproductive and excessive.                There's no reason for
 16       knee strikes.                What we're trying to do is eventually
 17       to -- to place a person in handcuffs.
 18                            And Deputy Tennison, I thought his behavior,
 19       him being a PERT deputy, he never used any of those
 20       skill sets that he had learned, to come in, you know, to
 21       try to influence behavior.                He came in and right away,
 22       you know, a couple knee strike -- the knee strike that
 23       he did, I thought was counterproductive.
 24                            And to go back to my opinions -- but I believe
 25       it was just counterproductive.                I believe it did not

KRAMM COURT REPORTING                                                                           Page: 85
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8259 Page 20 of 67
Deposition of Scott A. DeFoe                             K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      assist in the -- actually, in the -- in the handcuffing
   2      of Mr. Phounsy.
   3                Q.         It may have been counterproductive in your
   4      view, but it's not improper to do that, is it?
   5                A.         Well, it depends.   It depends on what -- what's
   6      the -- if the end result -- if the knee strike is simply
   7      out of frustration because you can't get something done
   8      then, it's excessive.
   9                           If it's done to, like, transition to a
 10       handcuffing technique, such as a distraction strike or
 11       something like that, no, then it's not.                   But if it's
 12       done solely out of frustration, then it's excessive.
 13                 Q.         And where did you derive your opinion it was
 14       done out of frustration?
 15                 A.         If it wasn't done to effect -- I think it was
 16       counterproductive.              I know -- I said if it was done out
 17       of frustration.              I didn't say it was done out of
 18       frustration.
 19                 Q.         No. 18 looks like the same thing with respect
 20       to Deputy Tennison, who used punches to the right thigh.
 21       And those are counterproductive, correct?
 22                 A.         Yes.
 23                 Q.         And what do you base that on?
 24                 A.         Once again, they're not used to effect the
 25       handcuffing techniques.              So other than that, there's

KRAMM COURT REPORTING                                                                          Page: 86
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8260 Page 21 of 67
Deposition of Scott A. DeFoe                               K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      BY MR. CHAPIN:
   2                Q.         But you don't have any evidence to indicate
   3      this was a respiratory arrest?
   4                           MR. McBRIDE:   Same objections.
   5                           THE WITNESS:   I don't, other than he went into
   6      cardiac arrest in the ambulance and stopped breathing.
   7      So I don't know if that was attributed to the prolonged
   8      struggle; I don't know if it was attributed to the
   9      pressure on the head for 10 minutes; I don't know if
 10       it's attributed to the force, to the maximum restraints,
 11       to the way in which the restraints were put on.                             All of
 12       those are medical opinions.
 13       BY MR. CHAPIN:
 14                 Q.         Have you read the medical examiner's report?
 15                 A.         I have.
 16                 Q.         Are you aware of the preexisting condition,
 17       cardiac condition, Mr. Phounsy had?
 18                 A.         I believe --
 19                            MR. McBRIDE:   Objection.   Assumes facts.
 20       Misstates the record.
 21                            THE WITNESS:   I believe I've read it.               In fact,
 22       I know I've read it, but I don't know what the
 23       conclusions were.
 24       BY MR. CHAPIN:
 25                 Q.         Okay.   No. 22 is a criticism of the County

KRAMM COURT REPORTING                                                                            Page: 96
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8261 Page 22 of 67
Deposition of Scott A. DeFoe                             K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      Sheriff's Department.               Why did you put that in there?
   2                A.         No. 23, you mean?
   3                Q.         I'm sorry, 23.
   4                A.         Debrief.   I think that's -- I think incidents
   5      such as this -- when you have an in-custody death, I
   6      think it's critical that they do a comprehensive debrief
   7      to learn best practices about what everyone did or
   8      didn't do and things we can do better.
   9                           I think it's critical for lessons learned,
 10       officer safety, what officer safety can glean out of
 11       this or what's better for the department, and obviously
 12       the standard of care for the community.                   I think it's
 13       critical to look at this thing comprehensively and find
 14       out what we did right and what we did wrong.
 15                 Q.         And you don't know what the Sheriff's
 16       Department did as far as debriefing, do you?
 17                 A.         I was never provided a debrief.        And it's my
 18       understanding, based on my review, that there wasn't a
 19       debrief.
 20                 Q.         But you don't know?
 21                 A.         If it occurred, I have not seen it, nor did
 22       anyone testify that they attended one.
 23                 Q.         And this wouldn't really have anything to do
 24       with the conduct of the deputies on this particular
 25       occasion?

KRAMM COURT REPORTING                                                                          Page: 97
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8262 Page 23 of 67
Deposition of Scott A. DeFoe                            K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                A.         Well, it could, because the purpose of any
   2      debrief is to, you know, talk about what I did or what
   3      you did or what Mr. McBride did or whatever it may be
   4      because we're looking at what your actions were that
   5      day, could they have been different; were they
   6      reasonable based on this set of circumstances; what
   7      parts were maybe unreasonable; was there lack of
   8      communication; were there deescalation issues; was there
   9      lack of supervisory oversight; was there -- you know,
 10       was the force excessive.
 11                            There's a bunch of reasons why we debrief, and
 12       so it does speak to each individual's actions that are
 13       present.
 14                 Q.         I mean, it would relate to corrective action
 15       rather than something that would affect the conduct of
 16       the deputies on this particular day?
 17                 A.         Well, if the contact was such that they -- if
 18       it was beyond what was reasonable, it could result in
 19       discipline.
 20                 Q.         I think we covered No. 24 already.
 21                            And what is the "basic physiology of a
 22       struggle"?
 23                 A.         I talked about that earlier.     It just basically
 24       is, you know, the suspect is restrained in a face-down
 25       position and breathing may become labored, weight is

KRAMM COURT REPORTING                                                                         Page: 98
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8263 Page 24 of 67
Deposition of Scott A. DeFoe                               K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      applied to the person's back, the more weight, the more
   2      severe the degree of compression, the individual
   3      experiences increased difficulty breathing, and natural
   4      reaction to oxygen deficiency occurs, and the person
   5      struggles more violently, the officer applies more
   6      compression to subdue the individual.
   7                           This is a vicious cycle of more resistance,
   8      more force, and they're trying to breathe, the officers
   9      are taking that as resistance to the force, when in
 10       reality the resistance is to they're trying to breathe,
 11       and then more force is applied, and it's that -- very
 12       similar to what Mr. Meyer wrote in his report -- it's
 13       that effect that ultimately can lead to positional
 14       asphyxiation.
 15                 Q.         And finally, I believe --
 16                 A.         We have one more after this, a couple pages
 17       away.
 18                            MR. OSTERBERG:   27 is on page 17.
 19       BY MR. CHAPIN:
 20                 Q.         Oh, I'm sorry.   You're right.
 21                            No. 26, what's your criticism about the
 22       deputies and the soft restraints?
 23                 A.         It is the fact that they should have
 24       transitioned.              Obviously, when they accompanied
 25       Mr. Phounsy in the ambulance, if they needed more than

KRAMM COURT REPORTING                                                                            Page: 99
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8264 Page 25 of 67
Deposition of Scott A. DeFoe                            K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                           I, Deborah M. DeSilva, Certified Shorthand
   2      Reporter licensed in the State of California, License
   3      No. 7307, hereby certify that the deponent was by me
   4      duly sworn and the foregoing testimony was reported by
   5      me and was thereafter transcribed with computer-aided
   6      transcription; that the foregoing is a full, complete,
   7      and true record of said proceeding.
   8                           I further certify that I am not of counsel or
   9      attorney for either or any of the parties in the
 10       foregoing proceeding and caption named or in any way
 11       interested in the outcome of the cause in said caption.
 12                            The dismantling, unsealing, or unbinding of the
 13       original transcript will render the reporter's
 14       certificate null and void.
 15                             In witness whereof, I have hereunto set my
 16       hand this day:              July 12, 2017.
 17                            XX   Reading and Signing was requested.
 18                            ____ Reading and Signing was waived.
 19                            ____ Reading and Signing was not requested.
 20

 21
                                          ________________________________
 22                                       Deborah M. DeSilva, RPR, CRR
                                          CSR No. 7307
 23

 24

 25

KRAMM COURT REPORTING                                                                       Page: 116
Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8265 Page 26 of 67




               EXHIBIT “B”
     Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8266 Page 27 of 67
Deposition of Jerry Thrush, M.D.                             K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.


                                     UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF CALIFORNIA
          K.J.P., a minor, and K.P.P., a                     )
          minor, individually, by and through)
          their mother, LOAN THI MINH NGUYEN,)
          et al.,                                            )
                              Plaintiffs,                    ) Case No.:
          v.                                                 ) 15-CV-02692-H-MDD
          COUNTY OF SAN DIEGO; San Diego                     )
          Sheriff WILLIAM GORE; et al.,                      )
                              Defendants.                    )
          ___________________________________)


                                    DEPOSITION OF JERRY THRUSH, M.D.
                                             JULY 12, 2017
                          VOLUME I, PAGES 1 THROUGH 286, INCLUSIVE
                                        SOLANA BEACH, CALIFORNIA


                      Reported by:          Lauren Ramseyer, CSR No. 14004




KRAMM COURT REPORTING                                                                               Page: 1
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8267 Page 28 of 67
Deposition of Jerry Thrush, M.D.                          K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      schedule.                I believe it's in the thumb drive, but just
   2      in case, I brought it.
   3                          MR. OSTERBERG:      Let's attach that as
   4      Exhibit P.
   5                          (Exhibit P was marked for identification.)
   6      BY MR. OSTERBERG:
   7                Q         And what do you charge for deposition
   8      testimony, sir?
   9                A         I believe it's $800 per hour.
 10                 Q         Okay.      Have you ever qualified as an expert
 11       witness in any court of law as a police procedures and
 12       tactics expert?
 13                 A         No.
 14                 Q         Have you ever qualified as an expert witness
 15       in any court of law with regard to paramedic practice in
 16       pre-hospital care?
 17                 A         When you say "qualified," I'm a specialist in
 18       emergency medicine with emergency medical services
 19       experience, and I'm not certain what you mean by
 20       "qualified."
 21                 Q         Let me ask you this.      Has any court of law
 22       said, "Yes, Dr. Thrush, you can go ahead and testify as
 23       an expert witness in the area of paramedic practice and
 24       pre-hospital care"?
 25                 A         I don't believe I've had such an accolade from

KRAMM COURT REPORTING                                                                           Page: 36
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8268 Page 29 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      a court of law.             But no court of law has said that I
   2      can't testify in such a case as a specialist in
   3      emergency medicine with EMS experience.
   4                Q         So the answer is no?
   5                A         Correct.
   6                Q         Okay.   Have you ever qualified as an expert
   7      witness in the area of photography and lighting?
   8                A         No.
   9                Q         Have you ever qualified as an expert in the
 10       area of cause of death?
 11                 A         No.
 12                 Q         Have you ever qualified as an expert witness
 13       in quantifying pain and suffering?
 14                 A         No.
 15                 Q         Are you personally familiar with any of the
 16       named defendants in this lawsuit, whether they be
 17       sheriffs' deputies, fire personnel, paramedics,
 18       captains?
 19                 A         When you say "personally," I don't have any
 20       personal relationship with any of them.                  Have I met some
 21       of them?            It's quite likely in the course of my practice
 22       I have met some of the people in this case.
 23                 Q         And that's what I'm getting at.          Do you have
 24       any recollection, as you sit here today, for example,
 25       meeting or working with Captain Bagley?

KRAMM COURT REPORTING                                                                         Page: 37
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8269 Page 30 of 67
Deposition of Jerry Thrush, M.D.                           K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                Q         Can you tell me what your understanding is as
   2      to the differences in training and scope and practice in
   3      California between an EMT and a paramedic?
   4                A         Yes.
   5                Q         Or an EMTP.    Do you understand what that
   6      acronym is?
   7                A         Yes.
   8                          MR. MCBRIDE:    Objection.     Overbroad.
   9      BY MR. OSTERBERG:
 10                 Q         Go ahead.
 11                 A         To give you a narrative answer, EMTs, in the
 12       State of California, can place oxygen, provide spinal
 13       embolization, bandage, splints, transport.
 14                           EMTs in the State of California do not place
 15       IVs.        They do not administer medications, with the
 16       exception of oxygen.              Does that answer your question?
 17                 Q         Yes.   Would it be simply stated EMTs provide
 18       BLS, or basic life support, and EMTPs, or paramedics,
 19       can provide ALS, advance life support?
 20                 A         That is correct.
 21                 Q         In the field?
 22                 A         Yes.   Although I think California has a
 23       provision now that in some rural areas paramedics can
 24       actually work in some emergency departments.
 25                 Q         As a medical doctor, have you ever held a

KRAMM COURT REPORTING                                                                            Page: 53
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8270 Page 31 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      title of a medical director for any fire agency
   2      paramedic program in California?
   3                A         Paramedic program, yes.    Fire agency, no.
   4                Q         So with regard to any paramedic program
   5      provided by any fire agency in the State of California,
   6      you never acted as a medical director?
   7                A         That is correct.
   8                Q         Now, in reviewing your materials, I saw that,
   9      I think it was in 1994 into 1996, you had a position
 10       with Life Care Medical Transport; is that correct?
 11                 A         Yes.
 12                 Q         And what was your title at Life Care?
 13                 A         My title was medical director.
 14                 Q         And at that point in time, were you working as
 15       a doctor somewhere else?
 16                 A         Yes.
 17                 Q         Where?
 18                 A         I was working at Redlands Community Hospital,
 19       Redlands, California, and Loma Linda University Medical
 20       Center, in Loma Linda, California.
 21                           I believe at the same time I did some shifts
 22       at the former Sharp Murrieta, in Murrieta, California.
 23                 Q         All right.   So with Life Care, was that a
 24       full-time position?
 25                 A         No.

KRAMM COURT REPORTING                                                                         Page: 54
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8271 Page 32 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      moved out of the area.
   2                Q         Yeah, I didn't notice a time period.               Can you
   3      generally give me a time period?
   4                A         I don't recall.    I expect it was, to the best
   5      of my recollection, early to mid '90s.
   6                Q         Okay.    When did you leave the Inland Empire to
   7      head to San Diego for nicer weather?
   8                A         1994, although I continued to work some
   9      shifts, when I first moved down here, at Redlands
 10       Community Hospital and Loma Linda University.                        And then
 11       I decided I would just rather stay here.
 12                 Q         Have you ever participated or actually done
 13       yourself or drafted yourself policies and procedures for
 14       paramedics for use in pre-hospital care work?
 15                 A         I don't recall specifically authoring them
 16       independently.              Now, I was a member of the Emergency
 17       Medical Care Committee of San Bernardino County, and we
 18       were a group that make recommendations regarding policy
 19       and procedure for paramedics for the entire Inland
 20       counties.
 21                 Q         Did that group author or edit policies and
 22       procedures or protocols for paramedics' scope of
 23       practice in San Bernardino County?
 24                 A         I know we made recommendations.          In terms of
 25       whether we authored them, I think they were ultimately

KRAMM COURT REPORTING                                                                         Page: 58
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8272 Page 33 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      authored at the time by the medical director in the
   2      Inland counties, who was Conrad Salinas.
   3                          But I think we made recommendations in terms
   4      of policy and procedure.
   5                Q         Have you ever worked in any role as a medical
   6      doctor in training paramedics in San Diego County?
   7                A         I don't believe in San Diego County, although,
   8      I certainly have in the Inland Empire, Riverside, and
   9      San Bernardino counties.
 10                 Q         In the '90s?
 11                 A         Yes.
 12                 Q         Since 1994, since leaving the Inland Empire,
 13       understanding that you went back sometimes and worked at
 14       Loma Linda, have you performed any quality assurance
 15       work for any paramedic programs in San Diego County?
 16                 A         No.
 17                 Q         Since 1994, have you ever performed any
 18       protocol, drafting, protocol amending, or protocol
 19       review for paramedic programs in San Diego County?
 20                 A         Not to my recollection.
 21                 Q         Since you've been in San Diego County, have
 22       you ever performed any work in implementing policies or
 23       procedures, things of that nature, for any paramedic
 24       life flight programs in San Diego County?
 25                 A         No.

KRAMM COURT REPORTING                                                                         Page: 59
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8273 Page 34 of 67
Deposition of Jerry Thrush, M.D.                          K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      BY MR. OSTERBERG:
   2                Q         Same answer?
   3                A         My belief is in any situation.
   4                Q         Okay.   Would you agree with me from the
   5      materials you reviewed and the testimony you reviewed
   6      that Paramedic Hackett and Paramedic Poynter, after the
   7      second dose of Versed was administered, they attempted
   8      to have a conversation with some deputies on scene about
   9      potentially removing the law enforcement restraints and
 10       placing Mr. Phounsy in the restraints that were in the
 11       gurney?
 12                           MR. MCBRIDE:   Objection.     Argumentative.
 13       Assumes facts and misstates testimony.
 14                           THE WITNESS:   Per the documentation provided,
 15       it seems there's documentation of such discussion.
 16       BY MR. OSTERBERG:
 17                 Q         And you would agree from the materials
 18       reviewed that after that discussion, that a joint
 19       decision was made amongst the first responders that it
 20       would be better for Mr. Phounsy's safety and the first
 21       responders' safety and for anyone involved that they
 22       leave Mr. Phounsy in the law enforcement restraints to
 23       safely transport him to the hospital?
 24                           MR. MCBRIDE:   Objection.     Vague and ambiguous
 25       as to which deputy and which paramedics you're talking

KRAMM COURT REPORTING                                                                           Page: 84
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8274 Page 35 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      about.          Argumentative.      Assumes facts.      Compound.
   2                          THE WITNESS:    According to the documentation
   3      provided, that would be correct.              However, it is with a
   4      caveat that the paramedics indicated in their deposition
   5      that they discussed the case with law enforcement before
   6      doing the report.
   7      BY MR. OSTERBERG:
   8                Q         When you say discussed the case with
   9      law enforcement before their report, what are you
 10       suggesting?
 11                 A         I'm just indicating what I reviewed.
 12                 Q         Who said that?
 13                 A         I believe it was Hackett in his deposition
 14       mentioned that.
 15                 Q         Are you suggesting anything by stating that?
 16                 A         I'm just making a statement of what I
 17       reviewed.
 18                 Q         Okay.    Then are you suggesting there's some
 19       sort of a grand conspiracy here?
 20                 A         I'm simply reiterating what I reviewed, that
 21       the -- there was some discussion among the providers and
 22       law enforcement before records were indicated, were
 23       written, I should say.              And furthermore, there is an
 24       additional addendum written by Hackett sometime after
 25       the events.              It is rather unusual according to his

KRAMM COURT REPORTING                                                                         Page: 85
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8275 Page 36 of 67
Deposition of Jerry Thrush, M.D.                           K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      deposition transcript.
   2                Q         Are you talking about Paramedic Hackett?
   3                A         Correct.
   4                Q         Are you talking about any other paramedics?
   5                A         No, I believe he's the only one that made the
   6      addendum that was sometime after the events.
   7                Q         But you agree with me that after the
   8      discussion occurred with law enforcement about the
   9      potential for removing the law enforcement restraints
 10       from Mr. Phounsy and placing him in the restraints on
 11       the gurney, that a joint decision was made in the field
 12       to leave Mr. Phounsy in the law enforcement restraints
 13       in order to transport him to the hospital?
 14                           MR. MCBRIDE:    Objection.     Argumentative.
 15       Assumes facts and misstates evidence.
 16                           THE WITNESS:    I agree there was such a
 17       discussion documented and such a decision documented.
 18       BY MR. OSTERBERG:
 19                 Q         Okay.   And after that discussion and decision
 20       that we just talked about, you would agree that
 21       Mr. Phounsy was then lifted off of the driveway by
 22       multiple parties in the driveway, both paramedics and
 23       sheriff deputies, and placed on the Medic 2 gurney,
 24       correct?
 25                 A         Yes, I was --

KRAMM COURT REPORTING                                                                            Page: 86
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8276 Page 37 of 67
Deposition of Jerry Thrush, M.D.                           K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                          MR. LENERT:    Okay.   Those are my question for
   2      now, Doctor.             Thank you.
   3                          THE WITNESS:    Thank you.
   4                                        EXAMINATION
   5      BY MR. GAZZO:
   6                Q         Doctor, would you kindly pull out Exhibit R.
   7      When you have that, let me know, please.
   8                A         Is that the journal articles?
   9                Q         I believe it's the patient care report.
 10                 A         Got it, yes.
 11                 Q         You have that?
 12                 A         I have it.
 13                 Q         And if you would also kindly turn to page 21
 14       of your report.
 15                           While you're doing that, I want to direct your
 16       attention to the opinion that you have regarding a
 17       delayed notation.
 18                 A         Yes.
 19                 Q         You see that?
 20                 A         I see it.
 21                 Q         On page 21, you state, "My opinion regarding
 22       delayed notation by Paramedic Hackett is that these were
 23       created much later than is usual and customary, and this
 24       should be taken into consideration when interpreting
 25       them."

KRAMM COURT REPORTING                                                                          Page: 266
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8277 Page 38 of 67
Deposition of Jerry Thrush, M.D.                         K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                          Did I read that correctly?
   2                A         Yes.
   3                Q         Then you write, "According to
   4      Paramedic Hackett's addenda, deposition of Hackett,
   5      Exhibit 2, the event occurred on 4/13/2015, and the
   6      addenda were created on 4/30/2015."
   7                          Did you get that information, Doctor, from
   8      Paramedic Hackett's deposition transcript?
   9                A         Yes, as well as the time notations, I believe,
 10       on the report itself, as some indicate a time and date
 11       notation that's 4/30 instead of 4/13.
 12                 Q         Very good.    If I could, I'd like to mark this
 13       next in line.              Where are we?
 14                           THE REPORTER:    Exhibit S.
 15                           MR. GAZZO:    Exhibit S.   Thank you.
 16                           (Exhibit S was marked for identification.)
 17       BY MR. GAZZO:
 18                 Q         I'm going to mark what -- I'm handing you what
 19       we're going to mark as Exhibit S.               And if you -- this is
 20       an excerpt from the deposition of Paramedic Hackett.                               If
 21       you'd be kind enough to turn to page 29.
 22                 A         Okay.
 23                 Q         Line 7:
 24                           "Question:    So I understand according --
 25       looking at Exhibit 2, page 2, it looks like your first

KRAMM COURT REPORTING                                                                        Page: 267
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8278 Page 39 of 67
Deposition of Jerry Thrush, M.D.                          K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      addendum is 2:50 -- or, yeah, 2:56 a.m. on April 30th."
   2                          Do you see that?
   3                A         Yes.
   4                Q         Okay.   From line 7 to 9.     You see that?
   5                A         Yes.
   6                Q         Okay.   And if you follow with me on line 11,
   7      the next question is, "Is that when you drafted this
   8      portion, or is that when you uploaded it into the
   9      system?
 10                           "Answer:   That's when I uploaded it into the
 11       system."
 12                           Going to line 25, "So when did you draft
 13       this?"
 14                           Continuing on to page 30, "Answer:               As far as
 15       what I ended up doing after the call is we used a
 16       patient -- we used to use patient assessment sheets.                                I
 17       jotted down some of the details of the call as best I
 18       could, and then from there, I would say within that
 19       night or the next day, I worked on my actual documenting
 20       in a Word document.
 21                           "And then, like I said earlier, we didn't
 22       really have a place to put it, so until I got kind of
 23       word from my superiors on where to put it, I didn't put
 24       it anywhere.
 25                           "Question:   All right.   So if I understand

KRAMM COURT REPORTING                                                                         Page: 268
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8279 Page 40 of 67
Deposition of Jerry Thrush, M.D.                           K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      your testimony correct, within, say, 24 hours of the
   2      incident, you had completed drafting your account of
   3      what happened?
   4                          "Answer:   Yes, sir.
   5                          "Question:   Did you make any changes to that
   6      after you completed it within 24 hours of the incident?
   7                          "Answer:   No, sir."
   8                          Did you review that testimony in conjunction
   9      with the opinion that you have written on page 21,
 10       Doctor?
 11                 A         Yes.   Although, in my report, I did use the
 12       word "create" instead of "upload."
 13                 Q         Correct.   So you would agree, after reading
 14       that testimony, that the document, the patient care
 15       report in Exhibit R, was created on the day of or
 16       shortly after the April 13th, 2015, incident?
 17                 A         I did.   Although, it's still certainly
 18       delayed.            And elsewhere in the deposition testimony, I
 19       think that it's apparent that such a delayed addenda is
 20       so unusual.
 21                 Q         Correct.   But the addenda was created on the
 22       date of the incident, correct?
 23                           MR. MCBRIDE:    Objection.     Misstates the
 24       deposition testimony.              I think it's within 24 hours.
 25       ///

KRAMM COURT REPORTING                                                                          Page: 269
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8280 Page 41 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1      BY MR. GAZZO:
   2                Q         Fair enough.    The document was created within
   3      24 hours of the incident, correct?
   4                A         According to the deposition of Aaron Hackett.
   5      But we don't have the notes that he made or he alleges
   6      that he made that he created the document from.
   7                Q         Correct.   But he testified that he didn't make
   8      any changes between the draft and the uploading of the
   9      document on April 30th.
 10                 A         That's right.    I stand corrected.          Instead of
 11       "created," I should have used the word "uploaded" in my
 12       document.
 13                 Q         Okay.   And that's, frankly, just what I wanted
 14       to clarify.
 15                           So does that change your opinion regarding
 16       this document that it was in fact created within 24
 17       hours of the date of the incident as opposed to what you
 18       wrote here "created April 30th, 2015"?
 19                 A         It doesn't change my opinion that the document
 20       was delayed and that it was unusual.                That's clear in
 21       the reports that it was unusual that such an addenda
 22       would be created later and put into the chart.
 23                 Q         Well, I'm confused.    Are you still saying that
 24       the document was created on April 30th, 2015, after we
 25       just reviewed this testimony?

KRAMM COURT REPORTING                                                                       Page: 270
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8281 Page 42 of 67
Deposition of Jerry Thrush, M.D.                        K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                A         No.   I'm saying it was uploaded, but it was
   2      still created later than customary.               It was so late he
   3      didn't know what to do with the extra -- and as I
   4      understand in his deposition, he was asked to do it by
   5      his superior.             He didn't come up with the idea, "Hey, I
   6      have to do this addendum."
   7                          I understand he was asked by his superior to
   8      do it, as I interpreted his deposition.
   9                Q         Okay.   Your understanding is that he didn't
 10       create the patient care report or his portion thereof in
 11       the normal and usual course of his business?
 12                 A         My understanding is that this addendum was
 13       created later than the initial report, and I stand
 14       corrected that it was actually created within 24 hours
 15       and then uploaded later.
 16                 Q         Okay.   I hope I didn't misunderstand you, I
 17       was confounded just for a moment.              I thought I heard you
 18       answer counsel's question that an additive factor to
 19       Mr. Phounsy's cardiorespiratory arrest was a delay in
 20       CPR.        Did I understand -- in response to counsel's
 21       question, did I understand that correctly?
 22                 A         A delay in, at least, effective CPR.               My
 23       concern is that there may have been a delay in CPR
 24       altogether, as he wasn't monitored.               There was no
 25       cardiac monitor.             So my overriding concern with the case

KRAMM COURT REPORTING                                                                       Page: 271
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8282 Page 43 of 67
Deposition of Jerry Thrush, M.D.                         K.J.P., et al. vs. COUNTY OF SAN DIEGO, et al.

   1                                    REPORTER'S CERTIFICATE
   2

   3                          I, Lauren Ramseyer, Certified Shorthand
   4      Reporter licensed in the State of California, License
   5      No. 14004, hereby certify that the deponent was by me
   6      first duly sworn and the foregoing testimony was
   7      reported by me and was thereafter transcribed with
   8      Computer-Aided Transcription; that the foregoing is a
   9      full, complete, and true record of said proceedings.
 10                           I further certify that I am not of counsel or
 11       attorney for either or any of the parties in the
 12       foregoing proceeding and caption named or in any way
 13       interested in the outcome of the cause in said caption.
 14                           The dismantling, unsealing, or unbinding of
 15       the original transcript will render the reporter's
 16       certificates null and void.
 17                           In witness whereof, I have hereunto set my
 18       hand this day: July 24, 2017.
 19                           ___X___Reading and Signing was requested.
 20                           _______Reading and Signing was waived.
 21                           _______Reading and Signing was not requested.
 22

 23                       ________________________________________
 24                                Lauren Ramseyer, CSR No. 14004
 25

KRAMM COURT REPORTING                                                                        Page: 286
Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8283 Page 44 of 67




               EXHIBIT “C”
Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8284 Page 45 of 67

      KRIS LEE SPERRY, M.D.                                      July 24, 2017
      K.J.P. vs COUNTY OF SAN DIEGO                                          1

·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · FOR THE SOUTHERN DISTRICT OF CALIFORNIA
·2

·3·   ·K.J.P., a minor, and K.P.P.,
· ·   ·a minor, individually, by and
·4·   ·through their mother, LOAN THI
· ·   ·MINH NGUYEN, who also sues
·5·   ·individually and as successor
· ·   ·in interest to her now deceased
·6·   ·husband, Lucky Phounsy, and
· ·   ·KIMBERLY NANG CHANTHAPHANH,
·7·   ·Individually,

·8· · · · · · · Plaintiffs,

·9· · · · · ·vs.· · · · · · · · · · · ·NO. 15cv2692-H(MDD)

10·   ·COUNTY OF SAN DIEGO; San Diego
· ·   ·Sheriff WILLIAM GORE; RICHARD
11·   ·FISCHER; KEVIN RALPH; MARCOS
· ·   ·COLLINS; JANAE KRULL; SANDRA
12·   ·(JANET) CARBAJAL; BILLY
· ·   ·TENNISION, III; DEAN ALLEN;
13·   ·MICHAEL LEE; JENNY MARTINSON;
· ·   ·TAMANI PUGH; AARON BROOKE;
14·   ·JOVONNI SILVA; CITY OF SANTEE;
· ·   ·AARON BAGLEY; AARON HACKETT;
15·   ·AARON DO; ADAM DANIELS; DANIEL
· ·   ·NEOW; LAKESIDE FIRE PROTECTION
16·   ·DISTRICT; MARC POYNTER; DAVID
· ·   ·CSIK,
17
· ·   · · · · · · Defendants.
18·   ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

19
· · · · · · EXPERT WITNESS VIDEOTAPED DEPOSITION OF
20
· · · · · · · · · · ·KRIS LEE SPERRY, M.D.
21

22· · · · · · · · · · · ·July 24, 2017

23· · · · · · · · · · · · ·1:09 p.m.

24

25


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8285 Page 46 of 67

     KRIS LEE SPERRY, M.D.                                       July 24, 2017
     K.J.P. vs COUNTY OF SAN DIEGO                                           2

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·4· ·EXPERT WITNESS VIDEOTAPED DEPOSITION OF

·5· · · · · · KRIS LEE SPERRY, M.D.

·6

·7· · · · · · · · July 24, 2017

·8· · · · · · · · · 1:09 p.m.

·9

10· · · · · · 2700 Centennial Tower
· · · · · · 101 Marietta Street, N.W.
11· · · · · · · Atlanta, Georgia

12

13

14· · · · Kelly S. Lawrence, CCR-B-1625

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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8286 Page 47 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           28

·1· · · · Q.· · And if you have the photographs you're
·2· ·referring to on Page 2, I'd like you to provide that
·3· ·to the court reporter as the next exhibit.
·4· · · · A.· · Yes.· There's, I think, two -- two
·5· ·photographs.
·6· · · · · · · (Defendant's Exhibit-6 was marked for
·7· ·identification.)
·8· · · · Q.· · (By Mr. Chapin)· Okay.· And in this -- in
·9· ·your opinion you indicate that there was clearly
10· ·cyanosis visible around his lips, indicating severe
11· ·hypoxia; is that right?
12· · · · A.· · Yes.
13· · · · Q.· · Is that your opinion based on that
14· ·photograph?
15· · · · A.· · Yes.· His lips are distinctly different in
16· ·coloration from the remainder of his face, and that's
17· ·usually -- you know, looking at cyanosis or reaching
18· ·a conclusion of cyanosis, looking at the lips or the
19· ·fingernail beds are at least where it's -- at least
20· ·is initially visualized.
21· · · · Q.· · And is there a particular photograph
22· ·you're looking at or is it two photographs?
23· · · · A.· · I would say, really, both of them.
24· ·They're slightly different.· They're different views,
25· ·slightly.


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8287 Page 48 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           29

·1· · · · Q.· · Okay.· So both photographs indicate
·2· ·cyanosis?
·3· · · · A.· · I think so, yes.
·4· · · · Q.· · And do you know who took those
·5· ·photographs?
·6· · · · A.· · I don't.
·7· · · · Q.· · Do you know when the photographs were
·8· ·taken?
·9· · · · A.· · I think they were taken just before -- I
10· ·mean, he had been obviously placed on the gurney, but
11· ·my understanding is that these were before he was
12· ·placed in the back of the ambulance.
13· · · · Q.· · Did you look at any photographs of him in
14· ·the ambulance?
15· · · · A.· · I don't know.· I don't recall offhand.
16· ·There may be some.· I'm just not recalling.· I'd have
17· ·to look and see.· I've got several hundred
18· ·photographs.
19· · · · Q.· · Well, why did you pick out these two
20· ·photographs?
21· · · · A.· · Well, because they -- they showed him
22· ·after he was strapped onto the gurney, and they
23· ·showed what I believe to be cyanosis of his lips.
24· · · · Q.· · Did you pull those photographs out of the
25· ·hundreds of photographs you had or did somebody give


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8288 Page 49 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           30

·1· ·them to you and tell you to look at these?
·2· · · · A.· · No, they -- I pulled them out of
·3· ·everything that I had been sent.
·4· · · · Q.· · Did you pull out any photographs after
·5· ·these were taken and render an opinion about cyanosis
·6· ·from those photographs?
·7· · · · · · · MR. McBRIDE:· Objection.· Vague and
·8· · · · ambiguous.· Confusing.
·9· · · · · · · THE WITNESS:· Well, I would have to look
10· · · · at -- you know, I'd have to look through all my
11· · · · photographs again.· If you want me to look, I
12· · · · certainly can.· I just don't recall right now
13· · · · what -- you know, what else there was.
14· · · · Q.· · (By Mr. Chapin)· Do you know what lighting
15· ·conditions were there for this particular photograph,
16· ·these two photographs?
17· · · · A.· · What specific lighting?· No.
18· · · · Q.· · Do you know what the F-stop was on the
19· ·camera that took these photographs?
20· · · · A.· · No.
21· · · · Q.· · Do you know how they were reproduced for
22· ·your viewing?
23· · · · A.· · Other than being digital, no, I don't
24· ·know -- I don't know specific details about how they
25· ·were reproduced other than they're -- you know,


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8289 Page 50 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           34

·1· · · · Q.· · Yes.
·2· · · · A.· · No.· I think these photographs help, but
·3· ·they're not to me the straw that breaks the camel's
·4· ·back.
·5· · · · Q.· · Well, you relied heavily on them because
·6· ·you're saying that he was suffering from hypoxia
·7· ·because of these photographs.· There isn't any other
·8· ·evidence of that, is there?
·9· · · · · · · MR. McBRIDE:· Objection.· Argumentative.
10· · · · Misstates testimony.
11· · · · · · · THE WITNESS:· Sorry.· I relied upon them
12· · · · because I had them, and they're there to view
13· · · · and for me to look at and to incorporate into my
14· · · · interpretation.· If they weren't there, if I
15· · · · didn't have the photographs, if the photographs
16· · · · didn't exist, for instance, all the rest of
17· · · · the -- the outcome still was the same with
18· · · · Mr. Phounsy.· So they're just, you know, an
19· · · · added piece of information, which fortuitously
20· · · · exists.
21· · · · Q.· · (By Mr. Chapin)· Is there any other
22· ·evidence that he was suffering from severe hypoxia at
23· ·any time other than these two photographs?
24· · · · · · · MR. McBRIDE:· Objection.· Overbroad.
25· · · · Vague and ambiguous.· Misstates prior testimony.


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8290 Page 51 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           35

·1· · · · · · · THE WITNESS:· Okay.· There's no other --
·2· · · · well, as I've said a couple of times, the
·3· · · · objective evidence which would really
·4· · · · physiologically establish hypoxia, that is,
·5· · · · oxygen saturation, other vital signs, those were
·6· · · · not taken and do not exist.· And so, you know,
·7· · · · those can't -- I can't rely on those because
·8· · · · they weren't done.
·9· · · · Q.· · (By Mr. Chapin)· So the answer is there's
10· ·no other evidence other than these photographs,
11· ·correct?
12· · · · · · · MR. McBRIDE:· Objection.· Argumentative.
13· · · · · · · THE WITNESS:· All right.· There's no other
14· · · · measured, objective evidence because those
15· · · · measurements and objective observations or
16· · · · objective documentations weren't done.
17· · · · Q.· · (By Mr. Chapin)· There's no objective
18· ·evidence at all, right?
19· · · · · · · MR. McBRIDE:· Same objection.
20· · · · · · · THE WITNESS:· Correct.· Yes.· And I'm
21· · · · not -- again, not trying to argue with you, but
22· · · · it's -- you know, if you -- the absence of
23· · · · something doesn't mean it doesn't exist; and
24· · · · there's a double negative in there, but that's
25· · · · purposeful.


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8291 Page 52 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           36

·1· · · · Q.· · (By Mr. Chapin)· Let's go on on Page 5 of
·2· ·your report.
·3· · · · A.· · Sure.
·4· · · · Q.· · The one where you indicate -- I think you
·5· ·can find it -- "A spit sock further compromised
·6· ·breathing and also obscured the ability to visualize
·7· ·his face."
·8· · · · · · · How did a spit sock compromise his
·9· ·breathing?
10· · · · A.· · I think the -- really, more from the -- I
11· ·don't know that the spit sock itself was something
12· ·that actually directly compromised his breathing in a
13· ·direct way, but the placement of a spit sock would
14· ·interfere with the caregivers' ability to look at him
15· ·and say evaluate his cyanosis, for instance, the
16· ·degree of cyanosis that he had or any progressions of
17· ·cyanosis, looking at his eyes, things like that.
18· · · · · · · So as far as a direct obstructive effect,
19· ·no, that's not what I was trying to, you know, to
20· ·say.· And if that came across that way, then that's
21· ·inartful on my part.· But it obscured the ability of
22· ·the caregivers to see his face and head.
23· · · · Q.· · Okay.· So I see that, but now I can strike
24· ·out that it further compromised his breathing; is
25· ·that right?


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8292 Page 53 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           37

·1· · · · A.· · Well, as far as -- yes, as far as, like I
·2· ·said, my -- I was not trying to imply or trying to
·3· ·say that the sock actually blocked his breathing
·4· ·because those -- that's not how those things are
·5· ·designed.· I mean, they're designed to avoid that,
·6· ·but by their placement it impairs the caregivers'
·7· ·ability to evaluate him.· So in that respect there's
·8· ·a compromise that occurs.
·9· · · · Q.· · But, technically speaking, your report is
10· ·inaccurate when it says, "It further compromised his
11· ·breathing," correct?
12· · · · · · · MR. McBRIDE:· Objection.· Argumentative.
13· · · · Misstates prior testimony.
14· · · · Q.· · (By Mr. Chapin)· The spit sock did not
15· ·compromise his breathing, correct?
16· · · · A.· · Okay.· That's fine.· But this is the third
17· ·time I will have said this now.· As far as directly
18· ·obstructing his ability to breath, no, that's not how
19· ·those are designed.· And if they were designed -- you
20· ·know, if they -- if they had that physical
21· ·capability, I don't think they would ever be used.
22· · · · Q.· · And how does a spit sock obscure the
23· ·ability to visualize his face?
24· · · · A.· · By covering his face.· I mean, although
25· ·it's not completely opaque, nonetheless, this is


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8293 Page 54 of 67

    KRIS LEE SPERRY, M.D.                                        July 24, 2017
    K.J.P. vs COUNTY OF SAN DIEGO                                           38

·1· ·still a barrier between the caregivers and his face
·2· ·and evaluating the color of his lips, which is where
·3· ·cyanosis comes in, and, you know, any other, you
·4· ·know, movements of his eyes, things like that.· It's
·5· ·just you cannot see well.
·6· · · · Q.· · Have you seen the spit sock that was used
·7· ·in this case?
·8· · · · A.· · No, I don't -- I don't recall seeing this
·9· ·specific spit sock.· It's possible it might be in one
10· ·of the photographs.· I don't -- I don't recall it,
11· ·though.
12· · · · Q.· · And moving on down into your report, you
13· ·mention -- now I'm going down to looks like the
14· ·second full opinion.· "It is my opinion" -- it goes
15· ·on -- "the manner in which Lucky Phounsy was
16· ·restrained in the back -- within the back of the
17· ·ambulance is a direct contributing factor to his
18· ·death."
19· · · · · · · Why is that?
20· · · · A.· · Because he was still in the maximal
21· ·restraint position and, as a consequence, could not
22· ·really be placed supine.· He was -- his body was
23· ·laying on his left side, somewhat twisted still with
24· ·his -- again, his hands handcuffed behind his back
25· ·and his legs pulled up with the -- you know, as I


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8294 Page 55 of 67

     KRIS LEE SPERRY, M.D.                                       July 24, 2017
     K.J.P. vs COUNTY OF SAN DIEGO                                         110

·1
·2· · · · · · · · · ·C E R T I F I C A T E
·3
·4· ·STATE OF GEORGIA:
·5· ·COUNTY OF FULTON:
·6
·7· · · · · · · I hereby certify that the foregoing
·8· · · · transcript was taken down, as stated in the
·9· · · · caption, and the questions and answers thereto
10· · · · were reduced to typewriting under my direction;
11· · · · that the foregoing pages 1 through 109 represent
12· · · · a true, complete, and correct transcript of the
13· · · · evidence given upon said hearing, and I further
14· · · · certify that I am not of kin or counsel to the
15· · · · parties in the case; am not in the regular
16· · · · employ of counsel for any of said parties; nor
17· · · · am I in anywise interested in the result of said
18· · · · case.
19· · · · · · · This, the 4th day of August 2017.
20
21
22· · · · · · · · · · · · · ·KELLY S. LAWRENCE, CCR-B-1625
23
24
25


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8295 Page 56 of 67

      KRIS LEE SPERRY, M.D.                                      July 24, 2017
      K.J.P. vs COUNTY OF SAN DIEGO                                        111

·1· · · · · · · · ·COURT REPORTER DISCLOSURE

·2
· ·   ·DEPOSITION OF:· KRIS LEE SPERRY, M.D.
·3
· ·   · · · Pursuant to Article 10.B. of the Rules and
·4·   ·Regulations of the Board of Court Reporting of the
· ·   ·Judicial Council of Georgia which states: "Each court
·5·   ·reporter shall tender a disclosure form at the time
· ·   ·of the taking of the deposition stating the
·6·   ·arrangements made for the reporting services of the
· ·   ·certified court reporter, by the certified court
·7·   ·reporter, the court reporter's employer, or the
· ·   ·referral source for the deposition, with any party to
·8·   ·the litigation, counsel to the parties or other
· ·   ·entity.· Such form shall be attached to the
·9·   ·deposition transcript," I make the following
· ·   ·disclosure:
10·   · · · I am a Georgia Certified Court Reporter.· I am
· ·   ·here as a representative of Esquire Deposition
11·   ·Solutions. Esquire Deposition Solutions was contacted
· ·   ·to provide court reporting services for the
12·   ·deposition.· Esquire Deposition Solutions will not be
· ·   ·taking this deposition under any contract that is
13·   ·prohibited by O.C.G.A. 9-11-28(c).
· ·   · · · Esquire Deposition Solutions has no
14·   ·contract/agreement to provide reporting services with
· ·   ·any party to the case, any counsel in the case, or
15·   ·any reporter or reporting agency from whom a referral
· ·   ·might have been made to cover this deposition.
16·   ·Esquire Deposition Solutions will charge its usual
· ·   ·and customary rates to all parties in the case, and a
17·   ·financial discount will not be given to any party to
· ·   ·this litigation.
18
· ·   · · · · · · · · · · · · · · · · · · · ·07/24/2017
19·   ·Kelly S. Lawrence, CCR-B-1625

20· ·Signature of attorneys present:· · · ·Date:

21· ·/s/

22· ·/s/

23· ·/s/

24· ·Return this form after review and/or signatures to
· · ·the court reporter for inclusion in the record.
25· ·Please use reverse side for additional signatures.


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8296 Page 57 of 67




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  Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8297 Page 58 of 67




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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8298 Page 59 of 67




              EXHIBIT “D”
Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8299 Page 60 of 67




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                       Transcript of the Testimony of:

                                Marc Poynter
                                         K.J.P.

                                           v.

                                 County of San Diego

                                  February 16, 2017

                                       Volume I




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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8300 Page 61 of 67


       Marc Poynter                                                   February 16, 2017

   ·1· ·neck.· These things are very loose elastic bands that
   ·2· ·hold it in place.
   ·3· ·BY MR. McBRIDE:
   ·4· · · · ·Q.· ·Okay.· But the elastic band was around his
   ·5· ·neck?
   ·6· · · · ·MR. OSTERBERG:· Objection.· It's argumentative.
   ·7· ·Asked and answered.· It misstates his testimony.
   ·8· · · · ·MR. GAZZO:· Join.
   ·9· ·BY MR. McBRIDE:
   10· · · · ·Q.· ·Correct?
   11· · · · ·A.· ·It was around the collarbone, lower neck
   12· ·area.· These things do not restrict.· The verbiage in
   13· ·that policy is that it's not to be restricted around
   14· ·someone's neck.· These are approved by the County to
   15· ·use.· The ones that we get are approved by the
   16· ·County.· They are all patented in the same fashion.
   17· ·And they are loose elastic bands that are used
   18· ·commonly and routinely with no issues.
   19· · · · ·Q.· ·Okay.· Is it -- can you see through the
   20· ·spit sock?
   21· · · · ·A.· ·Yes.
   22· · · · ·Q.· ·Is it sheer or is it -- you can see all
   23· ·the way through it?
   24· · · · ·A.· ·It's just a mesh hood.· I don't know what
   25· ·you mean by "sheer," like a -- like reflective kind


                                                                               Page 155
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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8301 Page 62 of 67


       Marc Poynter                                                   February 16, 2017

   ·1· ·of?
   ·2· · · · ·Q.· ·Is it opaque?· Like your shirt, for
   ·3· ·instance, is completely opaque.· I can't see through
   ·4· ·your shirt.
   ·5· · · · ·A.· ·Oh, no.· You can see -- you can see
   ·6· ·through the mesh hood.
   ·7· · · · ·Q.· ·Okay.· So after the spit -- how far into
   ·8· ·the ride was the spit sock applied?
   ·9· · · · ·A.· ·I -- I could not -- I couldn't give you an
   10· ·answer to that.· I don't know.
   11· · · · ·Q.· ·After the spit sock was applied, did
   12· ·Deputy Fisher continue to hold Mr. Phounsy's head in
   13· ·the manner you described earlier?
   14· · · · ·A.· ·To my knowledge, yes.
   15· · · · ·Q.· ·What was Mr. Phounsy's demeanor while in
   16· ·the ambulance?
   17· · · · ·A.· ·He was still very combative or thrashing
   18· ·around once we placed him in the ambulance and in
   19· ·route to the ability that we couldn't get extra vital
   20· ·signs.
   21· · · · ·Q.· ·So he now in addition to the maximum
   22· ·restraints is -- has two seat belts over him, and a
   23· ·deputy holding his head.· And your testimony is that
   24· ·he's still thrashing around?
   25· · · · ·A.· ·Yes.


                                                                               Page 156
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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8302 Page 63 of 67


         Marc Poynter                                                      February 16, 2017

   ·1·   · · · ·I, R. Jerrod Jones, CSR 11750, do hereby
   · ·   · · · ·declare:
   ·2
   · ·   · · · ·That prior to being examined, the witness named
   ·3·   ·in the foregoing deposition was by me duly sworn
   · ·   ·pursuant to Section 30(f)(1) of the Federal Rules of
   ·4·   ·Civil Procedure and the deposition is a true record
   · ·   ·of the testimony given by the witness.
   ·5
   · ·   · · · ·That said deposition was taken down by me in
   ·6·   ·shorthand at the time and place therein named and
   · ·   ·thereafter reduced to text under my direction.
   ·7
   · ·   ·   ·   ·   ·__X_   That the witness was requested to review
   ·8·   ·   ·   ·   · · ·   the transcript and make any changes to the
   · ·   ·   ·   ·   · · ·   transcript as a result of that interview
   ·9·   ·   ·   ·   · · ·   pursuant to section 30(e) of the Federal
   · ·   ·   ·   ·   · · ·   Rules of Civil Procedure.
   10
   · ·   · · · ·____ No changes have been provided by the
   11·   · · · · · · witness during the period allowed.

   12·   · · · ·____ The changes made by the witness are
   · ·   · · · · · · appended to the transcript.
   13
   · ·   · · · ·____ No request was made that the transcript be
   14·   · · · · · · reviewed pursuant to Section 30(e) of the
   · ·   · · · · · · Federal Rules of Civil Procedure.
   15
   · ·   · · · ·I further declare that I have no interest in
   16·   ·the event of this action.

   17· · · · ·I declare under penalty of perjury under the
   · · ·laws of the United States of America that the
   18· ·foregoing is true and correct.

   19· · · · ·WITNESS my hand this 2nd day of March, 2017.

   20

                                       . ~Y(Jt{Y
   21· ·_____________________________________________

   22· · · · R. Jerrod Jones, CSR No. 11750, RPR

   23

   24

   25


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Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8303 Page 64 of 67




               EXHIBIT “E”
       Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8304 Page 65 of 67
      Aaron Hackett                                                      December 08, 2016
                                                                                      Page 1
·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

·3

·4·   ·K.J.P., a minor, and K.P.P., a minor,
· ·   ·individually, by and through their
·5·   ·mother, LOAN THI MINH NGUYEN, who else
· ·   ·sues individually and as successor in
·6·   ·interest to her now deceased husband,
· ·   ·Lucky Phounsy, and KIMBERLY NANG
·7·   ·CHANTHAPHANH, individually,

·8· · · · · · · · · · · · ·Plaintiffs,

·9· · ·vs.· · · · · · · · · · · · · · · · ·CASE NO.
· · · · · · · · · · · · · · · · · · · · · ·15-cv-02692-H-MDD
10· ·COUNTY OF SAN DIEGO; ET AL.,

11· · · · · · · · · · · · ·Defendants.
· · ·______________________________________
12

13

14

15· · · · · · VIDEOTAPED DEPOSITION OF AARON HACKETT

16

17· · · · · · · · · · · Santee, California

18· · · · · · · · ·Thursday, December 8, 2016

19

20

21

22

23

24· ·Reported by: Lorraine E. Mesker, RPR

25· · · · · · · · CSR License No. 6499


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 Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8305 Page 66 of 67
Aaron Hackett                                                                                          December 08, 2016
·1·   ·not be able to breath, as well?                            ·1·   ·status.· Patient was no longer actively resisting
·2·   · · · · · MR. GAZZO:· Calls for speculation.                ·2·   ·Deputy Ficher.· We requested that Deputy Ficher remove
·3·   ·Argumentative.· Misstates testimony.                       ·3·   ·his hands from forcibly restraining Lucky, and we
·4·   ·BY MR. McBRIDE:                                            ·4·   ·assessed his pulse and respiration.· We saw his pulse
·5·   · · ·Q.· ·Did you consider that placing the spit sock       ·5·   ·was inactive at this point, and we started CPR measures
·6·   ·over Mr. Phounsy's head would further restrict his         ·6·   ·immediately.
·7·   ·ability to breathe?                                        ·7·   · · ·Q.· ·Okay.· So according to Deputy Ficher, he held
·8·   · · ·A.· ·Based on the lightweight, mesh material of the    ·8·   ·Lucky's head down for about ten minutes until Lucky
·9·   ·spit sock, I don't see it as being any hindrance in his    ·9·   ·stopped trying to break free from the restraint -- well,
10·   ·ability to breath.                                         10·   ·actually, let me back up.
11·   · · ·Q.· ·Have you ever had a spit sock on your head?       11·   · · · · · Prior to you discovering that Mr. Phounsy was
12·   · · ·A.· ·I have not personally, no.                        12·   ·motionless, when was the last time that you had asked
13·   · · ·Q.· ·Then how would you know that it doesn't affect    13·   ·Deputy Ficher whether Mr. Phounsy still resisted?· Do
14·   ·your ability to breathe?                                   14·   ·you understand my question?· How long had it been since
15·   · · ·A.· ·Just based on the material, it doesn't look       15·   ·you asked, "Hey, is he still --
16·   ·like it would cause any sort of issue.                     16·   · · ·A.· ·I do -- I do understand your question.· This is
17·   · · ·Q.· ·All right.· How far into the ride was it that     17·   ·a conversation that we continued to have, as I said,
18·   ·you put the spit sock on Mr. Phounsy's head?               18·   ·throughout the ambulance.· And it was when myself and
19·   · · ·A.· ·I'm not -- I am not entirely sure.· It would be   19·   ·Marc Poynter noticed that the patient was no longer
20·   ·at sometime -- at some point on the freeway, perhaps.      20·   ·moving that we noticed that.
21·   ·That's my best guess.                                      21·   · · ·Q.· ·Okay.· So this wasn't something that Deputy
22·   · · ·Q.· ·Closer to when you left or closer to when you     22·   ·Ficher brought to your attention.
23·   ·arrived?                                                   23·   · · ·A.· ·No, sir.
24·   · · ·A.· ·I would say sometime in the middle.               24·   · · ·Q.· ·You and Mr. Poynter noticed?
25·   · · ·Q.· ·What was Mr. Phounsy doing just prior to          25·   · · ·A.· ·Yes, sir.
                                                     Page 186                                                          Page 188

·1·   ·putting the spit sock on his head?                         ·1·   · · ·Q.· ·All right.· According to Deputy Ficher, he says
·2·   · · ·A.· ·He was still continuing to kind of thrash         ·2·   ·that Lucky had stopped trying to break out of the
·3·   ·around.· The deputy said that he was -- felt like          ·3·   ·restraints for approximately two minutes before you and
·4·   ·Mr. Phounsy was trying to spit at him.· He made the        ·4·   ·Mr. Poynter asked is he still resisting.
·5·   ·request for the spit sock.                                 ·5·   · · ·A.· ·I can't remember --
·6·   · · ·Q.· ·All right.· What happened after you placed the    ·6·   · · · · · MR. OSTERBERG:· Is that a question?
·7·   ·spit sock on Mr. Phounsy's head?                           ·7·   · · · · · MR. McBRIDE:· I've got a question.· Give me one
·8·   · · ·A.· ·We continued to drive.· We continued to monitor   ·8·   ·second.
·9·   ·the patient.· Continued to ask Deputy Ficher about the     ·9·   · · · · · MR. OSTERBERG:· Okay.
10·   ·patient's movements and his force against him.             10·   ·BY MR. McBRIDE:
11·   · · ·Q.· ·Was Mr. Poynter doing anything to assess or       11·   · · ·Q.· ·Could it have been two minutes that Mr. Phounsy
12·   ·monitor Mr. Phounsy?                                       12·   ·was not resisting before you and Mr. Poynter noticed?
13·   · · ·A.· ·We were all visually watching Mr. Phounsy, as     13·   · · ·A.· ·I can't tell you for sure.· It's been a long
14·   ·well as questioning the deputy.                            14·   ·time.· I can't tell you for sure.
15·   · · ·Q.· ·What were you questioning the deputy?             15·   · · ·Q.· ·But is it possible?
16·   · · · · · MR. GAZZO:· Asked and answered.                   16·   · · ·A.· ·I think it is highly unlikely.
17·   · · · · · THE WITNESS:· We continued to ask him about       17·   · · ·Q.· ·So you think that -- assuming I am correctly
18·   ·patient movement.· We continued to try to monitor the      18·   ·representing Mr. Ficher's testimony, you think he was
19·   ·rise and fall of the patient's chest, and we continued     19·   ·mistaken?
20·   ·to look for any sort of respiratory compromise or change   20·   · · ·A.· ·I can't --
21·   ·in patient behavior that would be indicative of some       21·   · · · · · MR. OSTERBERG:· Argumentative.
22·   ·sort of change in patient status.                          22·   · · · · · THE WITNESS:· I can't speak towards his
23·   ·BY MR. McBRIDE:                                            23·   ·testimony.· I can only speak to what I can remember from
24·   · · ·Q.· ·Okay.· So Lucky eventually coded?                 24·   ·the call.· I don't feel -- I don't feel like he had not
25·   · · ·A.· ·Yes, sir.· We noticed a change in patient         25·   ·been resisting two minutes prior to that happening.
                                                     Page 187                                                          Page 189

                                                                           Pages 186 to 189
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 Case 3:15-cv-02692-H-MDD Document 268 Filed 01/11/21 PageID.8306 Page 67 of 67
Aaron Hackett                                                         December 08, 2016
·1· · · · · · · · · · CORRECTION CERTIFICATE
·2· · · · · · I, AARON HACKETT, do hereby certify that I have
·3· ·read the foregoing deposition transcript and that, to
·4· ·the best of my knowledge, said transcript is true and
·5· ·accurate (with the exception of the following changes
·6· ·listed below):
·7· ·PAGE· LINE· ·CHANGE TESTIMONY TO READ AS FOLLOWS:
·8· ·____· ____· ·___________________________________________
·9· ·____· ____· ·___________________________________________
10· ·____· ____· ·___________________________________________
11· ·____· ____· ·___________________________________________
12· ·____· ____· ·___________________________________________
13· ·____· ____· ·___________________________________________
14· ·____· ____· ·___________________________________________
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17· ·____· ____· ·___________________________________________
18· ·____· ____· ·___________________________________________
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23· ·____· ____· ·___________________________________________
24
· · · · · · · · · · · · · · ·_______________________________
25· · · · · · · · · · · · · ·AARON HACKETT
                                                      Page 210
·1· · · · · · · · · ·REPORTER'S CERTIFICATION
·2· · · · · · I, Lorraine E. Mesker, a Certified Shorthand
·3· ·Reporter in the State of California, do hereby certify:
·4· · · · · · That the witness in the foregoing deposition
·5· ·was by me duly sworn; that the deposition was then taken
·6· ·before me at the time and place herein set forth; that
·7· ·the testimony and proceedings were reported by me
·8· ·stenographically and were transcribed through
·9· ·computerized transcription under my direction; and the
10· ·foregoing is a true and correct record of the testimony
11· ·and proceedings taken at that time.
12· · · · · · I further certify that I am not of counsel or
13· ·attorney for either or any of the parties in the
14· ·foregoing proceeding and caption named or in any way
15· ·interested in the outcome of the cause in said caption.
16· · · · · · The dismantling, unsealing, or unbinding of the
17· ·original transcript will render the reporter's
18· ·certificates null and void.
19· · · · · · IN WITNESS WHEREOF, I have subscribed my name
20· ·this 21st day of December, 2016.
21
· · · · · · · · ·__X__· Reading and Signing was requested.
22· · · · · · · ·_____· Reading and Signing was waived.
· · · · · · · · ·_____· Reading and Signing was not requested
23
24
· · · · · · · · · · · _______________________________________
25· · · · · · · · · · LORRAINE E. MESKER, CSR NO. 6499, RPR
                                                      Page 211

                                                                         Pages 210 to 211
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